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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

KAREN MACE,

                             Plaintiff,
                                                               5:22-CV-1153 (TJM/ATB)
                                                     Case No. __________
                    v.
                                                     COMPLAINT
CROUSE HEALTH HOSPITAL, INC,

                             Defendant.              ECF CASE



       COMES NOW PLAINTIFF Karen Mace, by her undersigned attorney, for her

complaint against Defendant Crouse Health Hospital, Inc., and alleging as follows:

                            NATURE OF THE ACTION

       1.     This is an action for religious discrimination in violation of Title VII of

the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., on the grounds that

Defendant failed to reasonably accommodate Plaintiff’s sincerely held religious

objection to a mandatory COVID-19 vaccination policy, wrongly denied her

requested religious exemption, and as a result illegally terminated her employment.

Plaintiff asserts a concurrent claim under the New York State Human Rights Law,

N.Y. Exec. Law § 290 et seq. This is not an action challenging the legality of the

COVID-19 vaccination policy itself.       By this action, Plaintiff seeks all legal and

equitable relief available, including reinstatement, back pay, front pay, lost future

earnings, out of pocket costs, compensatory damages, punitive damages, and

attorney’s fees and costs. Plaintiff demands trial by jury.




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                                        PARTIES

       2.      Plaintiff Karen Mace is an adult resident of Baldwinsville, New York

(Onondaga County). At all relevant times, Mace was an “employee” of Defendant

within the meaning of Title VII and applicable state law.

       3.      Defendant Crouse Health Hospital, Inc. (“Crouse Hospital”) is a

domestic not-for-profit corporation with its principal place of business at 736 Irving

Avenue, Syracuse, New York. Crouse Hospital is licensed for 506 acute-care beds

and 57 bassinets.      Upon information and belief, at all relevant times, Crouse

Hospital had more than 500 employees. At all relevant times, Crouse Hospital was

Plaintiff’s “employer” within the meaning of Title VII and applicable state law.

                            JURISDICTION AND VENUE

       4.      This Court has original jurisdiction over this action pursuant to

28 U.S.C. § 1331 (federal question) and 42 U.S.C. § 2000e-5(f)(3) (Title VII).

       5.      This Court has supplemental jurisdiction over Plaintiff’s state law

claim pursuant to 28 U.S.C. § 1367, because Plaintiff’s federal and state law claims

derive from a common nucleus of operative facts and form part of the same case or

controversy under Article III of the U.S. Constitution.

       6.      This Court has venue over this action pursuant to 28 U.S.C.

§§ 1391(b)(1) and (b)(2) and 42 U.S.C. § 2000e-5(f)(3) (Title VII), because Defendant

resides in this judicial district and a substantial part of the events or omissions

giving rise to the claim occurred in this judicial district.

                         ADMINISTRATIVE EXHAUSTION

       7.      Plaintiff properly exhausted her administrative remedies under Title

VII prior to filing this action.



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       8.       On or about December 10, 2021, within 180 days of the alleged

discriminatory acts, Mace filed a charge of discrimination against Crouse Hospital

with the U.S. Equal Employment Opportunity Commission (EEOC). The charge

was assigned charge number 525-2021-01557.

       9.       On September 7, 2022, the EEOC issued a Notice of Right to Sue, a

copy of which is attached hereto as Exhibit A.

       10.      This action was filed within 90 days of Mace’s receipt of the Notice of

Right to Sue.

       11.      There are no administrative exhaustion requirements for Plaintiff’s

claim under the New York State Human Rights Law.

                                   ALLEGATIONS

       12.      Mace was hired by Crouse Hospital on July 21, 2008.

       13.      Mace worked as a Certified Surgical Technician. A certified surgical

technician, also commonly referred to as a certified surgical technologist, is a health

care professional who provides surgeons and patients with support before, during,

and after surgery.

       14.      Mace’s job duties included: preparing the operating room for surgery;

sterilizing, organizing, and preparing surgical instruments; disinfecting surgical

sites and preparing patients for surgery; handing surgeons surgical instruments;

dressing surgical incisions; and maintaining a sterile environment for surgeons and

patients.

       15.      At all relevant times, Mace was qualified for her position and

performed her duties in a satisfactory manner.




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                   Crouse Hospital’s COVID-19 Vaccination Policy
                          and Mace’s Religious Exemption

       16.    On or about August 12, 2021, Crouse Hospital announced that,

effective September 13, 2021, all employees “will need to be vaccinated or will be

required to receive weekly Covid-19 test.”

       17.    The policy provided that testing “will be done on a rotating basis

through Employee Health” and “will be via saliva swab test, and staff will be

allowed to work while waiting for results.”

       18.    The policy further provided that “[e]mployees with medical or religious

exemptions who are not vaccinated will be required to undergo weekly testing, as

will be the case for all other non-vaccinated employees.”

       19.    On August 25, 2021, Crouse Hospital emailed employees that “the

New York State Department of Health (DOH) is now mandating that ALL

healthcare workers . . . must be fully vaccinated, with first dose received by

September 27.” The email further explained that “[t]here will be limited religious

and medical exemptions. If you feel you are eligible, complete the appropriate form .

. . and submit as soon as possible.”

       20.    On August 26, 2021, Mace submitted a request for a religious

exemption to the COVID-19 vaccination policy, using the prescribed forms and

following the prescribed procedures.

       21.    Mace is a baptized Christian who subscribes to a Christian worldview

based on the words and teachings of Jesus Christ in the Bible and Essene Gospel.

       22.    In her letter requesting a religious exemption, Mace stated that

“[r]eceiving the Covid-19 vaccine would betray my sincerely held personal religious




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beliefs. I am requesting an accommodation of these beliefs in regards to NY state

recently mandating the vaccine for healthcare workers.”

       23.     Mace further explained: “I believe in and follow the principles God

has laid out in His word. My deeply held beliefs are that vaccines, and in particular,

the Covid-19 vaccine, without getting into the science of it, and to put it simply,

overrides and rewrites the perfect system that God has created. We were created in

God’s image (Genesis 1:27). My body is a temple for the Holy Spirit, and as such am

only held accountable by God and to God. I must honor Him by living in obedience

to Him. This means to me trusting in His plan and knowing that He has given me

everything I need to stay healthy including my God given immune system and not

tainting it with chemicals and evil impurities. ‘Know ye not that your body is the

temple of the Holy Ghost which is in you, which ye have of God, and ye are not your

own? For ye are bought with a price therefore glorify God in your body, and in your

spirit, which are God’s.’”

       24.     On August 27, 2021, Crouse Hospital emailed employees that the New

York State Department of Health “issued an update” to its COVID-19 vaccination

rule that “removes the religious exemption option from the original mandate. The

medical exemption option remains in place.”          This refers to the COVID-19

emergency regulation issued by the New York State Department of Health on

August 26, 2021 (“DOH Mandate”).

       25.     The August 27 email explained that, under the DOH Mandate,

employees must be fully vaccinated with a first dose by September 27, 2021.

       26.     On September 14, 2021, the DOH Mandate was temporarily stayed by

the U.S. District Court for the Northern District of New York, see Dr. A. v. Hochul,

21-CV-1009(DNH), 2021 WL 4189533, at *1 (N.D.N.Y. Sept. 14, 2021), which TRO


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was converted to a preliminary injunction on October 12, 2021, see Dr. A. v. Hochul,

567 F. Supp.3d 362 (N.D.N.Y. 2021).

       27.    On September 23, 2021, Mace was notified by John Bergemann,

Director of Human Resources, that her religious exemption “has been reviewed and

it is conditionally approved.”

       28.    In his September 23 email, Bergemann explained: “Please know that

religious exemptions are being processed and approved at this time under temporary

order of a New York federal court, allowing religious exemptions. That temporary

order is being challenged by the state of New York. Depending on the outcome of

the court proceeding, religious exemptions may not be allowed under the State

Public Health Law emergency regulations and if so, this exemption may be revoked

at a future time. Therefore this approval is temporary until the final decision is

rendered in the court proceeding.     Crouse must follow whatever guidelines are

established at that time.”

       29.    In approving Mace’s religious exemption, Crouse Hospital did not

change or restrict Mace’s regular job duties in any manner.

       30.    Notably, the only condition imposed on Mace in connection with her

approved religious exemption was that she undergo weekly COVID-19 testing, which

Mace complied with and which was always negative.

       31.    In approving Mace’s religious exemption, Crouse Hospital did not

engage in the interactive process with Mace.

       32.    In approving Mace’s religious exemption, Crouse Hospital did not

question the sincerity of Mace’s religious objections to the COVID-19 vaccine.

       33.    In approving Mace’s religious exemption, Crouse Hospital did not

assert that it would cause any undue hardship on the hospital.


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       34.    In approving Mace’s religious exemption, Crouse Hospital did not

assert that the cost of weekly COVID-19 testing was more than a “de minimis”

expense or administrative burden on the hospital.

       35.    In approving Mace’s religious exemption, Crouse Hospital did not

assert that allowing her to work while unvaccinated would pose any danger to the

health or safety of patients and staff.

       36.    Beginning in or around March 2020, the COVID-19 precautions

required by Crouse Hospital included temperature checks for all persons entering

the hospital, appropriate mask wearing in the hospital, and social distancing where

feasible. These precautions were deemed adequate to mitigate the risk of spreading

or catching COVID-19.

       37.    At all times, Mace followed all required COVID-19 precautions.

                                  Mace’s Termination

       38.    The preliminary injunction staying the DOH mandate was vacated on

appeal on November 4, 2021, see We the Patriots USA, Inc. v. Hochul, 17 F.4th 266

(2d Cir. 2021) (per curiam); see also We the Patriots USA, Inc. v. Hochul, 17 F.4th

368 (2d Cir. 2021) (per curiam) (“clarifying” opinion issued November 12, 2021).

       39.    On November 16, 2021, John Bergemann emailed employees with

religious exemptions that “[p]er a New York State Department of Health notice

released November 15, 2021, the COVID vaccine mandate implementation date is

Monday, November 22. . . . This eliminates previously granted religious exemptions,

which will no longer be allowed per NYS DOH beginning Monday, November 22.”

Bergemann further stated: “As a result of this DOH mandate, you must receive

your first COVID vaccination by Monday, November 22 or you will be deemed a

voluntary resignation from your position.”


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       40.    Notably, Crouse Hospital revoked Mace’s religious exemption solely on

the grounds that it “will no longer be allowed” by the New York State Department of

Health.

       41.    In revoking Mace’s religious exemption, Crouse Hospital did not

dispute Mace’s good faith religious objections to the COVID-19 vaccine, nor did it

assert that continuing the exemption would cause an undue hardship on the

hospital, nor did it assert that continuing the exemption would pose any danger to

the health or safety of patients and staff.

       42.    Defendant maintained this same position before the EEOC, where it

argued that Mace “was not entitled to a religious exemption under the Emergency

Regulations [DOH mandate] and she therefore was separated. Responsibility for

this decision rests with New York State, not with the Hospital.”

       43.    When Mace continued to abide by her good faith religious objections to

the COVID-19 vaccination policy, she was terminated on November 22, 2021, for

“not meeting the state mandate of receiving a COVID 19 vaccine.”

               DOH Mandate Does Not Preclude Religious Exemptions

       44.    Crouse Hospital’s understanding and implementation of the DOH

Mandate was legally erroneous and violated Mace’s federal and state law rights.

       45.    It does not violate the DOH Mandate for a covered entity to grant a

covered employee a religious exemption to the COVID-19 vaccination requirement in

accordance with federal and state equal employment opportunity laws.

       46.    The DOH Mandate does not prohibit religious exemptions; rather, it is

silent on the issue of religious exemptions.




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       47.     Although    the   DOH     Mandate    expressly    provides   for   medical

exemptions, nowhere does it state (in sum or substance) that “only” medical

exemptions are allowed.

       48.     The DOH Mandate does not purport to preempt the rights and

protections afforded employees under federal and state equal employment

opportunity laws.

       49.     On the contrary, in the “Regulatory Impact Statement” accompanying

the emergency regulation, the DOH expressly noted that “[t]his regulation will not

conflict with any state or federal rules.”

       50.     On November 15, 2021, the Department of Health issued a “Dear

Administrator Letter” that stated the DOH’s position on this issue.

       51.     Upon information and belief, this is the notice referred to by John

Bergemann in his November 16 email, discussed above.

       52.     The Letter still is posted on the Department of Health’s website and

has not been retracted or rescinded.

       53.     The Letter is addressed to “Chief Executive Officers, Nursing Home

Operators and Administrators, Adult Care Facility Administrators, and Home Care

and Hospice Administrators.”

       54.     The   Letter   begins   by    reiterating   the   COVID-19    vaccination

requirement and stating that, beginning November 22, 2021, it applies to covered

employees who were previously granted religious exemptions. But then the Letter

directs: “Facilities should have a process in place to consider reasonable

accommodation requests from covered personnel based on sincerely held religious

beliefs consistent with applicable Federal and State laws, including Equal




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Employment Opportunity (EEO) laws such as Title VII of the Civil Rights Act and

the NYS Human Rights Law, and their applicable guidance.”

       55.    The Letter makes clear that the Department of Health does not

consider the COVID-19 vaccination mandate to be inconsistent with federal and

state EEO laws that require reasonable accommodations for employees’ sincerely

held religious beliefs.    Furthermore, the Letter provides no limitations or

restrictions on how covered entities may comply with their obligations under federal

and state EEO laws.

       56.    The EEOC has published extensive guidance relating to COVID-19

(which the “Dear Administrator Letter” instructed healthcare facilities to consider).

In “What You Should Know About COVID-19 and the ADA, the Rehabilitation Act,

and Other EEO Laws,” (updated July 12, 2022) (available at www.eeoc.gov), the

EEOC has explained:

       An employee who does not get vaccinated due to a disability (covered
       by the ADA) or a sincerely held religious belief, practice, or observance
       (covered by Title VII) may be entitled to a reasonable accommodation
       that does not pose an undue hardship on the operation of the
       employer’s business. For example, as a reasonable accommodation, an
       unvaccinated employee entering the workplace might wear a face
       mask, work at a social distance from coworkers or non-employees,
       work a modified shift, get periodic tests for COVID-19, be given the
       opportunity to telework, or finally, accept a reassignment.

Id. § K.2 (Vaccinations – Overview).           These are precisely the reasonable

accommodations at issue here – masking, testing, and social distancing – that Mace

could have followed in lieu of the COVID-19 vaccine.

       57.    Upon information and belief, the New York Department of Health

never has issued any guidance or directives to covered entities that they may not

grant religious exemptions in accordance with federal and state EEO laws.




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       58.    Upon information and belief, the New York Department of Health

never has issued any guidance or directives to covered entities that employees who

have been granted religious exemptions in accordance with federal and state EEO

laws may not work onsite or engage in direct patient care activities.

       59.    Upon information and belief, since August 26, 2021, and continuing to

the present, unvaccinated health care workers with pending or approved religious

exemptions have been working onsite and/or engaging in direct patient care

activities in health care facilities throughout New York.

       60.    Upon information and belief, since August 26, 2021, and continuing to

the present, the New York Department of Health never has penalized a covered

entity for allowing unvaccinated health care workers with pending or approved

religious exemptions to work onsite and/or engage in direct patient care activities.

                        No Undue Risk to Patients and Staff

       61.    When Crouse Hospital initially approved Mace’s religious exemption,

this meant that it had determined that allowing Mace to work unvaccinated, while

following the standard COVID-19 precautions and being tested weekly, would not

pose an undue risk to patients and staff of catching COVID-19.

       62.    It would not have caused an undue risk to patients and staff of

catching COVID-19 to allow Mace to continue following the standard COVID-19

precautions and being tested weekly, instead of revoking her exemption.

       63.    Nothing changed about the dangers of COVID-19 in the Fall 2021 to

render these precautions ineffective. On the contrary, rates of hospitalizations and

deaths under the “Delta” variant were declining by October 2021, and the “Omicron”

variant, which became dominant in December 2021, is widely acknowledged to be

less virulent than previous waves have been.


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       64.    Significantly, it was well-established by the Fall 2021 that the

available COVID-19 vaccines do not prevent the transmission of the virus.

       65.    On August 5, 2021, during a televised interview with CNN’s Wolf

Blitzer, CDC Director Dr. Rochelle Walensky stated that the COVID-19 vaccines

“continue to work well for Delta, with regard to severe illness and death – they

prevent it. But what they can’t do anymore is prevent transmission.”

       66.    Indeed, a senior Pfizer executive recently admitted during a

parliamentary hearing that the company did not know whether or not its COVID-19

vaccine prevented transmission of the virus when the vaccine was first rolled out.

       67.    Notably, the DOH Mandate contains an express medical exemption

provision, pursuant to which “any reasonable accommodation may be granted . . . .”

10 N.Y.C.R.R. § 2.61(d)(1).

       68.    Significantly, the DOH Mandate imposes no workplace limitations on

employees who receive medical exemptions.

       69.    According to the New York Department of Health, therefore, an

unvaccinated employee who is granted a medical exemption does not pose an

unacceptable risk of spreading COVID-19 to other employees or patients.

       70.    It would be pure speculation, indeed irrational, for Crouse Hospital to

argue that an unvaccinated employee who is granted a religious exemption does pose

an unacceptable risk of spreading COVID-19 to other employees or patients.

       71.    Indeed, it is possible that unvaccinated employees who are regularly

tested for COVID-19 will be more likely to know they are infected and potentially

contagious, and therefore can self-quarantine and consequently will be less likely to

transmit the virus unknowingly, than vaccinated employees who do not undergo

regular testing.


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       72.    In short, there is no objective, scientific basis for Crouse Hospital to

argue that continuing Mace’s religious exemption would have posed an undue risk to

patients and staff of becoming sick from COVID-19. This would be pure speculation.

       73.    Since her termination by Crouse Hospital, Mace has diligently

pursued alternative employment.

       74.    From December 13, 2021, to October 13, 2022, Mace worked as a

certified surgical technologist at a hospital in Scranton, Pennsylvania. The hospital

granted her religious exemption to its COVID-19 vaccination policy.

       75.    This entire experience has caused Mace significant mental and

emotional distress and personal and financial hardship.

                    COUNT ONE: VIOLATION OF TITLE VII

       76.    By revoking her religious exemption to the mandatory COVID-19

vaccination policy and terminating her employment, Defendant violated Mace’s

rights under Title VII.

       77.    Title VII provides, inter alia, that “[i]t shall be an unlawful

employment practice for an employer . . . to discharge any individual . . . because of

such individual's . . . religion . . . .” 42 U.S.C. § 2000e-2(a)(1). Title VII further

defines “religion” to include “all aspects of religious observance and practice, as well

as belief, unless an employer demonstrates that he is unable to reasonably

accommodate to an employee's or prospective employee's religious observance or

practice without undue hardship on the conduct of the employer's business.”

       78.    Accordingly, under Title VII it is unlawful “for an employer not to

make reasonable accommodations, short of undue hardship, for the religious

practices of her employees . . . .” Trans World Airlines, Inc. v. Hardison, 432 U.S. 63,




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74 (1977); see also Ansonia Bd. of Educ. v. Philbrook, 479 U.S. 60, 68 (1986) (“The

employer violates the statute unless it ‘demonstrates that [it] is unable to reasonable

accommodate . . . an employee’s . . . religious observance or practice without undue

hardship on the conduct of the employer’s business.’”) (quoting 42 U.S.C. § 2000e(j)).

          79.   Defendant was recklessly indifferent to Mace’s federally protected

rights.

          80.   As a direct and proximate result of Defendant’s discriminatory

conduct, Mace has suffered pecuniary and non-pecuniary damages, including lost

income and benefits and mental and emotional distress, for which she is entitled to

an award of reinstatement, back pay, front pay, out of pocket costs, compensatory

damages, punitive damages, and attorney’s fees and costs.

           COUNT TWO: VIOLATION OF STATE HUMAN RIGHTS LAW

          81.   By revoking her religious exemption to the mandatory COVID-19

vaccination policy and terminating her employment, Defendant violated Mace’s

rights under the New York State Human Rights Law.

          82.   The State Human Rights Law provides, inter alia, that “[i]t shall be

an unlawful discriminatory practice . . . [f]or an employer . . . because of an

individual’s . . . creed . . . to discharge from employment such individual . . . .” N.Y.

Exec. Law § 296(1)(a). The State Human Rights Law further provides that “[i]t shall

be an unlawful discriminatory practice for any employer . . . to impose upon a person

as a condition of obtaining or retaining employment . . . any terms or conditions that

would require such person to violate or forego a sincerely held practice of her or her

religion . . . unless, after engaging in a bona fide effort, the employer demonstrates

that it is unable to reasonably accommodate the employee's or prospective




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employee's sincerely held religious observance or practice without undue hardship

on the conduct of the employer's business.” Id. § 296(10)(a).

       83.     Defendant was recklessly indifferent to Mace’s state law rights.

       84.     As a direct and proximate result of Defendant’s discriminatory

conduct, Mace has suffered pecuniary and non-pecuniary damages, including lost

income and benefits and mental and emotional distress, for which she is entitled to

an award of reinstatement, back pay, front pay, out of pocket costs, compensatory

damages, punitive damages, and attorney’s fees and costs.




                            DEMAND FOR JURY TRIAL

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a

trial by jury as to all issues triable by jury in the above-captioned civil action.




                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that the Court enter judgment

against Defendant on her claims under Title VII and the New York State Human

Rights Law, and award her the following relief:

       A.      Reinstatement to the same or equivalent position;

       B.      Back pay in an amount to be determined at trial;

       C.      Front pay in an amount to be determined at trial;

       D.      Out of pocket costs in an amount to be determined at trial;

       E.      Compensatory damages in an amount to be determined at trial;

       F.      Punitive damages in an amount to be determined at trial;

       G.      Pre-judgment and post-judgment interest;



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      H.    Attorney’s fees and costs;

      I.    Appropriate injunctive relief; and

      J.    Such other relief as justice may require.



Dated: November 4, 2022



                                          Respectfully submitted,

                                          Steven M. Warshawsky
                                 By:      _____________________________________
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